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                                                      U.S. Department of Justice
                                                      United States Attorney
                                                      District of New Jersey

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Assistant United States Attorney                      Newark, New Jersey 07102




                                                      October 9, 2017


The Honorable Madeline Cox Arleo
United States District Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

Re:        United States v. Shahjadi Parvin
           Crim. No. 17-268 (MCA)

Dear Judge Arleo:

       The United States respectfully submits this letter to confirm its submission of a
sentencing letter to the Court on October 9, 2017, in the above-captioned matter.

                                                      Respectfully,

                                                      WILLIAM E. FITZPATRICK
                                                      Acting United States Attorney


                                                      /s/ Dennis C. Carletta
                                                      By: Dennis C. Carletta
                                                      Assistant United States Attorney




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